Case 2:02-Cr-20448-BBD Document 463 Filed 08/12/05 Page 1 of 3 Page|D 309

 

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lN THE UNITED STATES DISTRICT COURT 05 AUG l
FOR THE WESTERN DISTRICT OF TENNESSEE 2 m 32 M"
WESTERN DIVISION THGM*\SL'J
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UNITED STATES OF AMERICA,
Plaintiff, Case No.: 02-20448 D P
v.

JOHN E. MADISON, SR., and
WILLIEANN D. MADISON,

Defendants.

 

ORDER

 

Before the Court is Memphis First Community Bank’s Motion to Set Aside Order Vacating
Foreclosure Sale. Upon review of the motion and response, the Court finds that the motion should

be denied pending a hearing pursuant to 21 U.S.C. § 853(n), to determine the parties interests in the

property.

IT IS So oRDERED this g£’("day of (2/¢] fgc ,2005.

 
 
   

TED STATES DISTRICT JUDGE

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with Hu|e 55 and/or 32{b) FRCrP on §'Z§£ QJ

 

 

 

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